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     Matthew Z. Crotty
 1   Casey Bruner
     Riverside Law Group, PLLC
 2   905 W. Riverside Ave.
     Ste. 404
 3   Spokane, Washington 99201
 4
     Attorneys for Plaintiffs
 5
                          IN THE UNITED STATES DISTRICT COURT
 6                      FOR THE WESTERN DISTRICT OF WASHINGTON

 7
      SUZANNE MALLOUK, ALFREDO
 8
      RODRIGUEZ PEREZ, and ARJUN
 9    DHAWAN,                                                No. 2:23-cv-852

10                              Plaintiffs,                    NOTICE OF APPEARANCE
       v.
11
      AMAZON.COM INC. and STARBUCKS
12
      CORPORATION,
13
                                Defendants.
14

15          PLEASE TAKE NOTICE THAT Casey M. Bruner of Riverside Law Group, PLLC
16
     hereby appears in the above-captioned lawsuit and associates with Matthew Z. Crotty of Riverside
17
     Law Group, PLLC as attorneys of record for Plaintiff.
18

19

20          DATED this June 7, 2023.

21                                            /s/ Casey Bruner
                                              Casey M. Bruner, WSBA 50168
22                                            RIVERSIDE LAW GROUP, PLLC
23                                            905 W. Riverside Ave. Ste. 404
                                              Spokane, WA 99201
24                                            Telephone: (509) 952 - 8182
                                              Email: cmb@riverside-law.com
25

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       NOTICE OF APPEARANCE - 1
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                                         CERTIFICATE OF SERVICE
 1

 2             I certify that on June 7, 2023, I caused the forgoing to be electronically filed with the Clerk

 3   of the Court using the CM/ECF system, which sent notification of such filing to all counsel of

 4   record.
 5

 6                                             /s/ Casey Bruner
                                               Casey M. Bruner, WSBA 50168
 7                                             RIVERSIDE LAW GROUP, PLLC
                                               905 W. Riverside Ave. Ste. 404
 8                                             Spokane, WA 99201
                                               Telephone: (509) 952 - 8182
 9
                                               Email: cmb@riverside-law.com
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       NOTICE OF APPEARANCE - 2
